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 6

 7
                                      IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         )   CASE NO. 2:12-cr-0376-TLN
11
                                                       )
                              Plaintiff,               )
12
                                                       )   STIPULATION AND ORDER TO EXCLUDE TIME
            v.                                         )
13
                                                       )
     JORGE MEDINA VASQUEZ, and                         )
14
     ROBERTO JOSE VASQUEZ, and                         )
     DIEGO FERNANDO LIMON RODRIGUEZ.                   )
15
                                                       )
                              Defendants.              )
16
                                                       )
                                                       )
17
                                                       )
18
                                               STIPULATION
19   Plaintiff United States of America, by and through its counsel of record, and the defendants, by and
20
     through their counsels of record, hereby stipulate as follows:
21
     1. By previous order, this matter was set for status on November 14, 2013.
22
     2. By this stipulation, the defendants now move to continue the status conference until January 30,
23
         2014, at 9:30 a.m., and to exclude time between November 14, 2013 and January 30, 2014, under
24

25       Local Code T4. Plaintiff does not oppose this request.

26   3. The parties agree and stipulate, and request that the Court find the following:
27           a. The government has represented that the discovery associated with this case includes
28
                 several discs containing audio recordings, and related documents in electronic form. All
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 1            of this discovery has been either produced directly to counsel and/or made available for
 2
              inspection and copying.
 3
           b. Counsel for the defendant desires additional time to consult with his client, to review the
 4
              current charges, to conduct investigation and research related to the charges, to review
 5

 6            and copy discovery for this matter, to discuss potential resolutions with his client, to

 7            prepare pretrial motions, and to otherwise prepare for trial.

 8         c. Counsel for the defendant believes that failure to grant the above-requested continuance
 9
              would deny him the reasonable time necessary for effective preparation, taking into
10
              account the exercise of due diligence.
11
           d. The government does not object to the continuance.
12

13
           e. Based on the above-stated findings, the ends of justice served by continuing the case as

14            requested outweigh the interest of the public and the defendants in a trial within the

15            original date prescribed by the Speedy Trial Act.
16
           f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
17
              within which trial must commence, the time period of November 14, 2013 to January 30,
18
              2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
19

20
              [Local Code T4] because it results from a continuance granted by the Court at

21            defendant’s request on the basis of the Court's finding that the ends of justice served by

22            taking such action outweigh the best interest of the public and the defendant in a speedy
23
              trial.
24
     ///
25
     ///
26
     ///
27

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     ///
                Case 2:12-cr-00376-DC Document 38 Filed 11/12/13 Page 3 of 3


 1   4. Nothing in this stipulation and order shall preclude a finding that other provisions of the Speedy
 2
        Trial Act dictate that additional time periods are excludable from the period within which a trial
 3
        must commence.
 4
     IT IS SO STIPULATED.
 5

 6   Dated: November 12, 2013                                       BENJAMIN WAGNER
                                                                    U.S. ATTORNEY
 7
                                                    by:     /s/ Jill Thomas (11/12/13)
 8                                                          JILL THOMAS
                                                            Assistant U.S. Attorney
 9
                                                            Attorney for Plaintiff
10
     Dated: November 12, 2013                       by:     /s/ Russell S. Humphrey (11/12/13)
11                                                          RUSSEL S. HUMPHREY
                                                            Attorney for Jorge Medina Vasquez
12

13
     Dated: November 12, 2013                       by:     /s/ Tim F. Tuitavuki
                                                            TIM F. TUITAVUKI
14                                                          Attorney for Roberto Vasquez

15   Dated: November 12, 2013                       by:     /s/ Arturo Hernandez (auth. 11/12/13)
                                                            Attorney for Diego Fernando Limon
16
                                                            Rodriguez
17

18

19                                                ORDER
20

21   IT IS SO FOUND AND ORDERED this 12th day of November, 2013.

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25                                                          Troy L. Nunley
                                                            United States District Judge
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